Date Signed:
September 11, 2024




                UNITED STATES BANKRUPTCY COURT

                         DISTRICT OF HAWAII

In re:                                   Case No.: 19-00849
                                         Chapter 11
THE MINESEN COMPANY

                     Debtor.
                                        Related: ECF 1113



   MEMORANDUM DECISION ON CHUN KERR’S FOURTH AND
        FINAL APPLICATION FOR COMPENSATION

A. INTRODUCTION

     Chun Kerr, general counsel to the chapter 11 trustee Dane S. Field,

seeks a final allowance of compensation in the amount of $683,766.25 and

expenses of $3,591.96 for a total of $687,358.21. The Minesen Company and

Pangolin LLC object. At the hearing on the application on August 26, 2024,

Simon Klevansky and Alika Piper appeared for Chun Kerr, Ted Pettit

appeared for Minesen, Christopher Muzzi appeared for Pangolin, Dana




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Barbata appeared for the Army Morale Welfare and Recreation Fund

(“MWR”), and Curtis Ching appeared for the Office of the United States

Trustee.

      My prior orders (ECF 505, 706, 755) state the history of Minesen and

this case in detail. I incorporate those decisions in this memorandum.

B. REQUEST FOR DISCOVERY AND EVIDENTIARY
   HEARING

      The objectors argue that the application presents disputed issues of

fact and that therefore the court should allow discovery and hold an

evidentiary hearing. Discovery and an evidentiary hearing are appropriate

only when the factual disputes are both genuine and material to the relief

requested. In re Brown, 606 B.R. 40, 51 (B.A.P. 9th Cir. 2019).

      It is significant that the objectors have not clearly explained what

discovery they would conduct and what evidence they would offer at an

evidentiary hearing. Diaz v. San Jose Unified Sch. Dist., 861 F.2d 591, 597 (9th

Cir. 1988) (stating that the court is only required to hold an evidentiary

hearing when they “offer proof ‘sufficiently definite, specific, detailed, and
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nonconjectural to enable the court to conclude’ that a contested issue of fact

is in question.”).

      The objectors offer the declaration of Mr. Jensen that criticizes the

trustee’s application and his performance (and indirectly criticizes the

work of the trustee’s counsel). The trustee has filed his own declaration

that contradicts Mr. Jensen’s declaration in many respects. For purposes of

this decision only, I will assume (without finding) that Mr. Jensen’s factual

statements are true. Discovery and an evidentiary hearing will be necessary

only if those statements create material issues of fact.

C. MINESEN AND PANGOLIN’S OBJECTIONS

   1. Filing a Plan

      The objectors argue that Chun Kerr should have immediately filed a

plan. Instead, the firm began to draft a plan but never filed it. This

objection borders on the frivolous. Chun Kerr must have quickly realized

what was obvious: no confirmable plan was possible in this case until

Minesen assumed its contracts with MWR, because without those contracts

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Minesen had no business to reorganize. (Minesen failed when it attempted

to confirm a plan before completing its assumption and cure of those

contracts. ECF 706.) The delay in completing the assumption is mostly

attributable to Minesen and Pangolin (although MWR’s resistance did not

help.) ECF 755. Chun Kerr was correct to focus its efforts on assisting the

trustee in his efforts to assume the contracts, including the retention of

Highgate as the hotel manager, before filing a plan. When the objectors

filed their own plan the day after the Highgate agreement was approved,

the trustee reasonably and appropriately directed Chun Kerr to work on

fixing the problems with the objectors’ plan rather than file a competing

plan.

   2. Underpayment of TAT and OTAT

        The objectors argue that the court should reduce Chun Kerr’s

compensation because, for a time, the trustee did not pay the correct

amount of the transient accommodation tax (“TAT”) and Oahu transient

accommodation tax (“OTAT”).

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      The historical facts are undisputed. A hotel operator like Minesen

must pay a tax on the gross rental proceeds of accommodations rented for

less than 180 days to transients. Haw. Rev. Stat. § 237D-3(4) provides that

living accommodations for military members “on permanent duty

assignment to Hawaii” are exempt from the TAT and OTAT. For many

years, Minesen claimed as exempt the rents it received from military

personnel on temporary assignment to Hawaii. The trustee continued to

report the estate’s taxable income and pay TAT and OTAT on this basis,

until Highgate pointed out to the trustee that this was incorrect. The trustee

and Chun Kerr then took prompt corrective action, cooperated with an

audit of the tax returns, and requested a waiver of any penalties and

interest. The State of Hawaii Department of Taxation has completed the

audit but has not yet acted on the trustee’s request for a waiver.

      The trustee’s and Chun Kerr’s conduct was well within the applicable

standard. The trustee allowed the hotel staff to continue reporting and

paying TAT and OTAT as they had done under Minesen’s direction for

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many years without any complaint from the taxing authorities. Neither the

trustee nor Chun Kerr breached any duty of care by failing independently

to detect Minesen’s error.

D. FEES FOR DEFENDING FEE APPLICATIONS

      The objectors claim that under Baker Botts L.L.P. v. ASARCO LLC, 576

U.S. 121, 124 (2015), Chun Kerr will not be able to recover its attorney fees

for defending its fee application. In Baker Botts, the Supreme Court held

that the Bankruptcy Code did not displace the American Rule that each

party pay its own costs in fee defense litigation. 576 U.S. at 128. But in this

case, the confirmed plan, as a binding contract between all the parties in

the current dispute, supplants the American Rule. Id. at 126; ECF 1092 at

83. The plan (proposed by the objectors) requires the reorganized debtor to

indemnify the trustee and his professionals "against any claim, demand, or

cause of action that is barred by the exculpation and release provisions of

this Plan . . .).” ECF 1092 at 77. Those provisions state that exculpated

parties “shall neither have nor incur any liability to any holder of a claim,

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or to any party in interest in this case, or to the Reorganized Debtor, or

Debtor’s estate for any act or omission occurring after the Petition Date

through and including the Effective Date during and in connection with

the administration of this Chapter 11 Case. . ."). ECF 1092 88-89; see also ECF

1058. Chun Kerr is an exculpated party. ECF 1092 at 88. The conduct

complained of occurred prior to the effective date and was in connection

with the administration of this bankruptcy case. Thus, Chun Kerr will be

entitled to reasonable fees for defending its fee application.1

E. CONCLUSION

          I have carefully considered Chun Kerr’s application, the objectors’

response, and Chun Kerr’s reply, and the relevant parts of the entire record

of this case. I have taken into account all of the circumstances that are

relevant, including but not limited to the following:

          1. The time that the Chun Kerr spent rendering services was
             reasonable.
          2. The hourly rate charged by Chun Kerr is reasonable.


1   The amount will be determined through a future fee application.


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     3. All of the services for which Chun Kerr seeks compensation were
        necessary to the administration of the case, beneficial when
        rendered to the completion of the case, or both.
     4. Chun Kerr rendered its services within an amount of time that
        was reasonable considering the complexity, importance, and
        nature of the problems, issues, and tasks that he addressed.
     5. Chun Kerr’s attorneys and other professionals have extensive
        experience as bankruptcy counsel.
     6. The requested compensation is reasonable compared to the
        customary charges of similarly qualified and experienced
        bankruptcy attorneys and professionals.
     7. Chun Kerr’s compensation probably would have been lower but
        for Mr. Jensen’s failure to cooperate with the trustee and his
        insistence on excessive litigation and disputation throughout this
        case.

Accordingly, I find and conclude that $683,766.25 represents reasonable

compensation and $3,591.96 represents reasonable reimbursement of

actual, necessary expenses for Chun Kerr.



                             END OF ORDER




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